         CASE 0:19-cv-00352-DWF-TNL Doc. 78 Filed 04/27/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Aaron L. Olson,                                         Civil No. 19-352 (DWF/TNL)

                     Plaintiff,

 v.                                                                           ORDER

 Skateville, Inc.,

                     Defendant.

       Based upon the Report and Recommendation by United States Magistrate Judge

Tony N. Leung dated March 30, 2021 (Doc. No. 77), along with all the files and records,

and no objections to said Recommendation having been filed, IT IS HEREBY

ORDERED that:

       1.     Magistrate Judge Tony N. Leung’s March 30, 2021 Report and

Recommendation (Doc. No. [77]) is ADOPTED.

       2.     Defendant’s Motion to Dismiss Pursuant to Rules 37, 41, and 56 (Doc.

No. [67]) is GRANTED IN PART to the extent it requests dismissal with prejudice and

otherwise DENIED IN PART.

       3.     Plaintiff’s Motion to Withdraw Case (Doc. No. [72]) is GRANTED IN

PART as to the request to dismiss this matter and otherwise DENIED IN PART.

       4.     This matter is DISMISSED WITH PREJUDICE.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: April 27, 2021                   s/Donovan W. Frank
                                        DONOVAN W. FRANK
                                        United States District Judge
